               Case 2:21-cv-08230-JAK-E Document 23 Filed 10/26/21 Page 1 of 6 Page ID #:230
Name and address:
 David G. Liston
 LISTON ABRAMSON LLP
 The Chrysler Building
 405 Lexington Avenue, 46th Floor
 New York, NY 10174
                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

   WAG ACQUISITION L.L.C.,                                                  CASE NUMBER

                                                         Plaintiff(s),                         2:21-cv-08230-JAK-E
                  v.
  THE WALT DISNEY COMPANY and                                                 APPLICATION OF NON-RESIDENT ATTORNEY
  DISNEY STREAMING SERVICES, LLC,                                                   TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
  Liston, David G.
Applicant's Name (Last Name, First Name & Middle Initial)                                          check here if federal government attorney
 Liston Abramson LLP
Firm/Agency Name
 The Chrysler Building                                                     (212) 257-1644                          (917) 633-5568
   405 Lexington Avenue, 46th Floor                                      Telephone Number                      Fax Number
Street Address
  New York, NY 10174
                                                                                 david.liston@listonabramson.com
City, State, Zip Code                                                                               E-mail Address

I have been retained to represent the following parties:
      WAG Acquisition L.L.C.                                              x Plaintiff(s)    Defendant(s)      Other:
                                                                            Plaintiff(s)    Defendant(s)      Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                Name of Court                           Date of Admission             Active Member in Good Standing? (if not, please explain)
   Southern District of New York                         6/6/2000                                          Yes
   District of New Jersey                                11/2/2009                                           Yes
    State of New Jersey                                  12/21/1993                                          Yes


G-64 (09/20)                APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                             Page 1 of 3
         Case 2:21-cv-08230-JAK-E Document 23 Filed 10/26/21 Page 2 of 6 Page ID #:231
List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                    Title o[Action                             Date o[Ap_p_lication      Granted I Denied?
   l9-cv-0706                      WAG Acquisition L.L.C. v. Multi Media LLC, et al.               10/2/2019                 granted




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration ( or re-registration) to use that system. if the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           l declare under penalty of perjury that:

           ( 1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
                substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
                Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
                of this Court and maintains an office in the Central District of California for the practice of law, in
                which the attorney is physically present on a regular basis to conduct business, as local counsel
                pursuant to Local Rule 83-2.1.3.4.

               Dated   Oct. 22, 2021                                         David G. Liston




                                                                        Applicant's Signature


G-64 (09/20)                APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR I N A SPECIFIC CASE PRO HAC VICE                            Page 2 of3
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SECTION III - DESIGNATION OF LOCAL COUNSEL
     White, William A.
 Designee's Name (Last Name, First Name & Middle Initial)
    Hill, Farrer & Burrill LLP
 Firm/Agency Name
   One California Plaza, 37th Floor                                  (213) 621-0816                          (213) 624-4840
   300 South Grand Avenue                                          Telephone Number                         Fax Number
 Street Address                                                       wwhite@hillfarrer.com
   Los Angeles, CA 90071                                           Email Address
 City, State, Zip Code
                                                                   Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated   10/26/2021                                     William A. White



                                                                                                   c�
                                                                   Designee's Name (please type or print)

                                                                    �:e. ,(=£:
                                                                   Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

    Name of Court:                                    Date of Admission:                             Active Member in Good Standing:
     State of New York                                11/29/1994                                     Yes




G-64 (09/20)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC-CASE PRO HAC VICE                      Page 3 of3
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             Appellate Division of the Supreme Court
                       of the State of New York
                     Third Judicial Department


       I, Robert D. Mayberger, Clerk of the Appellate Division of
 the Supreme Court of the State of New York, Third Judicial
 Department, do hereby certify that

                      David Guerrero Liston
 was duly licensed and admitted to practice as an Attorney and
 Counselor at Law in all the courts of this State on November 29,
 1994, has duly taken and subscribed the oath of office prescribed
 by law, has been enrolled in the Roll of Attorneys and Counselors
 at Law on file in this office, is duly registered with the
 Administration Office of the Courts, and according to the records
 of this Court is currently in good standing as an Attorney and
 Counselor-at-Law.



                               In Witness Whereof, I have hereunto set
                               my hand in the City of Albany on
                               October 20, 2021.




                                    Clerk of the Court


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                                 State of New York
                         Supreme Court, Appellate Division
                            Third Judicial Department
                                 Admissions Office
                           P.O. Box 7350, Capitol Station
                              Albany, NY 12224-0350

                                        (518) 471-4778
Robert D. Mayberger                                                            Timothy P. O'Keefe
                                      fax (518) 471-4749
 Clerk of the Court                                                        Acting Director of Attorney
                            http://www.nycourts.gov/ad3/admissions
                                                                                   Admissions




     To Whom It May Concern


            An attorney admitted to practice by this Court may request a certificate of good
     standing, which is the only official document this Court issues certifying to an
     attorney's admission and good standing.


            An attorney's registration status, date of admission and disciplinary history may
     be viewed through the attorney search feature on the website of the Unified Court
     System.


            New York State does not register attorneys as active or inactive.


           An attorney may request a disciplinary history letter from the Attorney
     Grievance Committee of the Third Judicial Department.


          Bar examination history is available from the New York State Board of Law
     Examiners.


            Instructions, forms and links are available on this Court's website.




                                                      Robert D. Mayberger
                                                      Clerk of the Court



     Revised October 2020
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